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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                            Criminal No. 07-297(12) (DWF/JSM)

                        Plaintiff,

v.                                                     ORDER AND MEMORANDUM

Lamar Allen Ferguson,

                        Defendant.



David P. Steinkamp, Assistant United States Attorney, United States Attorney’s Office,
counsel for Plaintiff.

Katherine Menendez, Assistant Federal Defender, Office of the Federal Defender,
counsel for Defendant.



       Defendant Lamar Allen Ferguson has moved, pursuant to 18 U.S.C. § 3582(c) for

a sentence reduction under the revised and retroactive amendments to the United States

Sentencing Guidelines applicable to crack cocaine cases.

       Based upon the presentations of the parties and the submissions before the Court,

including a report from the United States Probation and Pretrial Services Office and

submissions from the United States Attorney’s Office and the Office of the Federal

Defender, and the Court being otherwise duly advised in the premises, the Court hereby

enters the following:
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                                          ORDER

        1.    Defendant Lamar Allen Ferguson’s motion (Doc. No. [646]) is

GRANTED. Defendant’s sentence is amended to a period of TIME SERVED with a

release date of no later than 12:00 noon Central Standard Time on Friday, December 16,

2011.

        2.    Further, to allow for placement at a residential center, if necessary, as a

general condition of supervised release, the Defendant shall reside for a period of up to

180 days at a residential re-entry center as approved by the Probation and Pretrial

Services Office and shall observe the rules of that facility. Subsistence shall be waived so

that the Defendant can save money for independent housing. Further, in an effort to assist

the Defendant in gaining and maintaining employment, the Court establishes as an

additional condition of supervision that the Defendant participate in the District of

Minnesota’s work program.


Dated: December 12, 2011                    s/Donovan W. Frank
                                            DONOVAN W. FRANK
                                            United States District Judge


                                     MEMORANDUM

        The Court’s intent in establishing a release date of Thursday, December 16, 2011,

is to establish a release date that is substantially consistent with the reduction in sentence

to the upper end of the advisory guidelines or a sentence of approximately 41 months.

Further, the Court has been informed that it was likely the case that the Defendant did not
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have a place to reside, so the Court, consistent with similarly situated defendants, and to

hopefully increase the likelihood of a successful transition back into the community, has

established a condition of the Defendant residing for a period, if necessary, up to

180 days at a residential reentry center. The Court also concludes that such a condition, if

necessary, will serve the best interests of the Defendant. The Court expects the

Defendant to participate in the District of Minnesota’s work program, as well as comply

with the conditions of supervised release that were imposed in May of 2009, including,

but not limited, to no use of alcohol or drugs; follow any alcohol or drug treatment

program; participate, if necessary, in any necessary psychological/psychiatric counseling;

as well as other conditions that a United States Probation Officer will sit down and go

over with the Defendant. Consequently, the Court is hopeful that the Defendant will,

with the assistance of the Court and Defendant’s best efforts, have a successful transition

into the community.

                                          D.W.F.
